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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     FUTURE LINK SYSTEMS, LLC,                       Case No. 22-cv-02041-TSH
                                   8                    Plaintiff,
                                                                                         ORDER RE: NOTICE OF
                                   9             v.                                      SETTLEMENT
                                  10     BROADCOM INC., et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          The Court has been informed that the above-entitled action has settled. ECF No. 65.

                                  14   Accordingly, the Court VACATES all pending deadlines. The parties shall file a dismissal or

                                  15   joint status report by May 4, 2022.

                                  16          IT IS SO ORDERED.

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                                  18   Dated: April 4, 2022

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                                                                                                 THOMAS S. HIXSON
                                  20                                                             United States Magistrate Judge
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